           Case 1:21-cv-01367-SES Document 18 Filed 11/10/21 Page 1 of 2




                     UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LASHAUN CASEY,                            :   CIVIL NO: 1:21-cv-01367
                                          :
               Plaintiff,                 :   (Magistrate Judge Schwab)
                                          :
      v.                                  :
                                          :
UNITED STATES OF AMERICA,                 :
                                          :
                                          :
               Defendant.                 :


                                    ORDER
                                November 10, 2021

      We are in receipt of Casey’s motion to appoint counsel (doc. 15) and his

motion for an extension of time to file a certificate of merit (doc. 16). Because we

have already denied Casey’s previous motion to appoint counsel (doc. 11) and

Casey does not provide any new justification for why he should be appointed

counsel, IT IS ORDERED that Casey’s motion (doc. 15) for the appointment of

counsel is DENIED. Upon consideration of Casey’s motion for an extension of

time to file a certificate of merit pursuant to Pennsylvania Rule 1042.3, IT IS

ORDERED that Casey’s motion (doc. 16) is GRANTED.
        Case 1:21-cv-01367-SES Document 18 Filed 11/10/21 Page 2 of 2




Casey shall file his certificate of merit on or before December 10, 2021.1



                                             S/Susan E. Schwab
                                             Susan E. Schwab
                                             United States Magistrate Judge




1
 We are also in receipt of Casey’s notice (doc. 17) requesting clarification as to
where his mail should be addressed. Casey can continue to file his documents with
either the Scranton or Harrisburg courthouse. If Casey wishes to file with the
Harrisburg courthouse, the address is:
Office of the Clerk
U.S. District Court
Middle District of Pennsylvania
228 Walnut Street,
P.O. Box 983
Harrisburg, PA 17108
                                         2
